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                                    SUBSCRIPTION AGREEMENT
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           Palm House Hotel, LLLP
           a Florida Partnership
           197 S. Federal Highway, Suite 200, Boca Raton, FL 33432

           RE:        Offering by Palm House Hotel, LLLP of Partnership Interests

                   The undersigned Subscriber hereby subscribes to and agrees to purchase an equity
           interest in Palm House Hotel, LLLP, a Florida limited liability Partnership (•Partnership•)
           consisting of a $500,000 equity Investment In Partnership ("lnvestmenr) as set forth below on
           the signature page hereof. The Investment In Partnership, and Indirectly In the Hotel Project
           rProjecr) Is described In the Private Placement Memorandum ("Memorandum"). The
           Partnership will be managed by South Atlantic Regional Center, LLC ("General Partner"). All
           capitalized tenns not otherwise defined herein shall have the meaning specified In the
           Memorandum.

                   In addition to the $500,000 investment, each Subscriber will pay concurrently to General
           Partner an organizational and administration fee of $40,000, as described In the Memorandum
           and LP Agreement Upon Generat Partner's acceptance of the Subscription, the entire $540,000
           shall be wired into an Escrow.

                      Subscriber. by executing this Subscription Agreement, does hereby certify and agree as
           follows:

                   1.     I have had a personal interview (the "Interview") with the representative of
           General Partner. During the course of the Interview, we discussed the infonnation concerning
           the Partnership, General Partner, and their business In great detail and I had the opportunity to
           obtain any additional Information I believed I needed In order to evaluate the risks and merits of
           the Investment I have also been provided with the Memorandum that provides certain

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                                                                                                      EXHIBIT A
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     information concerning an investment in the Partnership. In addition, I have undertaken such
     independent due diligence activities as I feel necessary in order to determine the viability of the
     Partnership's and the Project. No oral representations have been made or oral information
     furnished to the undersigned or his advisor(s) in connection with the offering of this investment,
     which were in any way inconsistent with the Memorandum.

             2.     I understand, acknowledge and agree that the proceeds to be received by the
     Partnership from my investment will be used for development of the Project that is described in
     the Memorandum and that I am relying on the abilities of the management of General Partner
     with respect to such investment.

             3.     I, or my competent professional advisors, if any, have such knowledge and
     experience in business and financial matters to enable me to utilize the information made
     available to me in connection with the offering of the Investment to evaluate the merits and risks
     of the proposed investment and to make an informed investment decision.

             4.      I understand that I or my authorized representatives have had the opportunity to
     obtain from General Partner any additional information, such as documents, records, and books
     pertaining to this investment to the extent possessed or obtainable without unreasonable effort or
     expenses, necessary to evaluate the merits and risks of the proposed investment and I have
     concluded, based on information presented to me, my own understanding of investments of this
     nature and the advice of such consultants as I deem appropriate, that I wish to subscribe for the
     amount of the Investment set forth below.

             5.     I understand that the investment has tax implications, and that any income
     therefrom may be subject to U.S. or Florida State income tax withholding. I further understand
     that J am advised to consult with a tax professional on tax-related aspects of the Investment.

             6.      I understand that the Investment being acquired hereby has not been registered
     under the Securities Act of 1933 (the Act) or the securities laws of the State of Florida or any
     other state and therefore, I must bear the economic risks of the investment for an indefinite
     period of time since the Investment cannot be sold or offered for sale unless subsequently so
     registered or an exemption from such registration is available. Finally, it is my understanding
     that there is virtually no market for the resale of investments such as this and that any
     realization on the value of my investment will, in all probability, be solely from the distribution of
     cash realized upon the liquidation of the Partnership or from operations.

              7.      I agree not to transfer or assign this Subscription Agreement, or any of my
     interest herein. I understand that any certificate evidencing the Investment purchased will bear a
     restrictive legend and that the transfer records of the Partnership will indicate the restrictions on
     transferability and sale noted in Paragraph 7 above. I agree that I will not dispose of any of the
     Investment subscribed for hereunder unless I have complied with the terms of the LLC
     Agreement and delivered to the Partnership an opinion of counsel in form acceptabf e to the
     Partnership that the proposed disposition does not violate the Act and the rules and regulations
     of the Securities and Exchange Commission or any applicable state blue sky or securities Jaws.

            8.      The Investment is being purchased for my own account, for investment purposes
     only, and not for the account of any other person, and not with a view to distribution,
     assignment, or resale to others or to fractionafize in whole or in part and that the offering and
     safe of the Investment is intended to be exempt from registration under the Act by virtue of
     Section 4(2) of the Act. In furtherance thereof, I represent. warrant, and agree as follows: (i) no
     other person has or will transfer such Investment except in accordance with the Act, the LLC
     Agreement of the Partnership and applicable state securities laws or unless, in the opinion of

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     counsel for the Partnership, an exemption from the registration requirements of the Act and
     such laws is available; and (ii) the Partnership is under no obligation to register the Investment
     on my behalf or to assist me in complying with any exemption from registration.

            9.      I am aware of and understand that the Investment is a speculative investment,
     which involves a high degree of risk of loss by me of my entire investment. In this connection. I
     have carefully considered the information furnished to me during the Interview and contained in
     the Memorandum.

           10.  I ACKNOWLEDGE THAT I AM NOT RELYING ON ANY REPRESENTATIONS
     OR PROJECTIONS CONCERNING THE OPERATIONS OF THE OWNER OR THE
     PARTNERSHIP, EXPRESS OR IMPLIED, ORAL OR WRITIEN, AND FURTHER
     ACKNOWLEDGE THAT I HAVE BEEN ADVISED TO CONSULT MY OWN TAX ADVISOR
     CONCERNING THE TAX ASPECTS OF AN INVESTMENT IN THE PARTNERSHIP. MY
     DECISION TO PURCHASE IS BASED UPON MY OWN INDEPENDENT ANALYSIS OF THE
     BUSINESS PROSPECTS OF THE OWNER AND THE PARTNERSHIP. I FURTHER
     ACKNOWLEDGE THAT I UNDERSTAND THAT ANY ESTIMATES OF THE PARTNERSHIP'S
     ECONOMIC PERFORMANCE PROVIDED TO ME MERELY REPRESENT THE
     PARTNERSHIP'S ESTIMATES OR RESULTS OF OPERATION AND THERE CAN BE NO
     ASSURANCE WHATSOEVER THAT THE ESTIMATED RESULTS CAN OR WILL BE
     ACHIEVED .

             11.       I shall indemnify and hold harmless from and against all demands, damages,
     losses, liabilities, costs and expenses the Partnership and General Partner. and any of their
     officers, employees, directors, and control persons as well as affiliates, representatives,
     attorneys, accountants and agents who were or are a party or are threatened to be made a
     party of any threatened, pending, or completed action, suit, or proceeding, whether civil,
     criminal, administrative, or investigative. by reason of or arising from my actions, my failure to
     be an accredited investor, to fulfill any of the terms or conditions of this Subscription Agreement,
     by my breach of the representations and warranties I have made herein, or in the LP
     Agreement, or in any other document I have provided to General Partner, or any actual or
     alleged misrepresentation or misstatement of facts or omission to represent or state facts made
     by me to the Partnership concerning myself or my financial position or otherwise made herein in
     connection with the offering or sale of the Investment including any violation of the Securities
     Act of 1933 or the Securities and Exchange Act of 1934, from and against all demands,
     damages, losses. liabilities, costs and expenses (including attorneys fees, judgments. fines and
     amounts paid in settlement) as actually and reasonably are incurred in connection with such
     action, suit, or proceeding.

             12.     I understand that this Subscription may be rejected, in whole or in part, by the
     Partnership in its sole discretion, at any time prior to the Offering termination, notwithstanding
     prior receipt by me of notice of acceptance of my subscription.

              13.    I understand the risks associated with the EB-5 immigration program. These risks
     include, but are not limited to: (1) my immigration status is not guaranteed by the Partnership or
     any other entity, and is wholly reliant on a determination by the USCIS, (2) my entire investment
     is "at risk" and is not guaranteed by any party, (3) that if the requisite number of jobs (10 per
     investor) are not created, then my 1-829 application to have conditions removed will be denied
     by the USCIS. I understand that I am advised to seek independent immigration counsel.

            14.    This Subscription is and shall be irrevocable. I agree that I may not cancel or
     terminate or revoke this Agreement, or any agreement I make hereunder. I agree that this
     Agreement shall survive my death or disability, and shall be binding upon my heirs, executors,

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     administrators, successors and assigns. However, I shall have no obligations hereunder in the
     event that (i) this Subscription is rejected for any reason or (ii) the terms of the Offering have not
     been satisfied.

            15.    I am aware that no federal or state agency has made any finding or
     determination as to the fairness of this Offering for investment, nor any recommendation or
     endorsement of the Investment. I AM AWARE AND UNDERSTAND THAT (A) THERE ARE NO
     FINANCIAL STATEMENTS FOR THE PARTNERSHIP; AND (B) NO DUE DILIGENCE HAS
     BEEN PERFORMED BY ANY COUNSEL OR ACCOUNTANT FOR THE PARTNERSHIP WITH
     RESPECT TO THE ISSUANCE AND SALE OF THE INVESTMENT TO ME.

              16.    I acknowledge that the information given to me during the interview and the
     information set forth in the Memorandum is confidential and non-public and agree that all such
     information shall be kept in confidence by me and neither used by me to my personal benefit
     (other than in connection with my subscription for Investment) nor disclosed to any third party
     for any reason ; provided that this obligation shall not apply to any such information which (i) is
     part of the public knowledge or literature and readily accessible at the date hereof; (ii) becomes
     part of the public knowledge or literature and readily accessible by publication (except as a
     result of a breach of these provisions); or (iii) is received from third parties (except third parties
     who disclose such information in violation of any confidentiality agreements including, without
     limitation, any Subscription Agreement they may have with the Partnership).

            17.     All information which I have provided concerning myself, my financial position
     and my knowledge of financial and business matters and that of my representatives is correct
     and complete as of the date hereof, and if there should be any material change in such
     information prior to the acceptance of the subscription, I will immediately provide the officers of
     General Partner with such information.

            18.     If I am an individual, I am 21 years of age or older.

            19.    I acknowledge and agree that I have (i) read, (ii) fully understand, personally or
     through the advice from my competent professional advisors, and (iii) specifically accept and
     adopt, each and every provision of the Partnership LP Agreement, a copy of which is annexed
     to the Memorandum as Exhibit A and do simultaneously with executing this Subscription
     Agreement, execute such LP Agreement subject to acceptance by General Partner.

            20.    This Agreement shall be enforced, governed and construed in all respects in
     accordance with the laws of the State of Florida.

             21.   Within ten (10) days after receipt of a written request from General Partner, I
     agree to provide such information and to execute and deliver such documents as reasonably
     may be necessary to comply with any and all laws and ordinances to which the Partnership is
     subject.

            22.     I have read and understand the LP Agreement, including the section concerning
     the Executive Order on Terrorist Financing issued September 23, 2001 by President George W.
     Bush (Order). (The Order is available on-line at:
     www.whitehouse.gov/newsfreleasesf2001/09/20010924-1. html). The term Terrorist as used
     herein shall have the same meaning as the phrase following persons in Section 1 of the Order.
     The Order includes named organizations (e.g. Al Qaida) and persons (e.g. Osama bin Laden)
     as well as others determined by federal officials to be controlled by, providing assistance to or
     associates of such organizations and persons. Among other things, the Order provides that: all
     property and interests in property of the following persons ... are blocked, any transaction or

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           dealing .. . In property or Interests In property blocked .•. is prohlblted, any transaction •.• that
           evades or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
           prohibitions set forth In this order Is prohibited, and any conspiracy formed to vlolate any of the
           prohibitions set forth in this order is prohibited. The phrase following persons (hereinafter
           referred to as Terrorists) is generally defined in the Order as meaning terrorists, including a
           specified list or persons and organizations. I hereby represent and warrant that I am not a
           Terrorist as described above.

                    23.     I am a resident o f : . , . - - - - - - - - - - - - - - - - - - - - -
           (list U.S. state or province/country).

                  24.     I AM AN ACCREDITED INVESTOR! I am aware that the Investment Is being
           offered to accredited Investors only. I acknowledge and warrant that I am an accredited investor
           because (check appropriate category):

                        a.[ZJ          My individual net worth (without any exclusions), or joint net worth
                                       together with my spouse (if any), is in excess of $1,000,000 (exclusive
                                       of my or my spouse's primary residence).

                        b.D            My lndivldual income was In excess of $200,000 In each of the past
                                       two years (excluding my spouse's Income), or my joint Income with my
                                       spouse was In excess of $300,000 in each of the past two years, and I
                                       expect lo have an Income In excess of that amount in the current year.

                  25.       I hereby provide you with the following information and representations:
                        1. Employer and Position: Chongqing Dachuan Holding (Group) Co., Ltd. Nice President

                        2. Business Address and Telephone Number: No. 105-97, Dayanggongqiao,
                            Shapingba District, Chongqing City /86-23-89851916

                        3. Business or professional education and degrees: - - - - - - - - - -
                            Chongqing MBA College I MBA

                        4. Prior Employment (5 Years):

              EMPLOYER                               NATURE OF DUTIES                            DATES OF EMPLOYMENT
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                        5. Prior Investments of Purchaser (cumulative amount):

                        Real Estate:    None:   0             Up to $100,000:  0                  Over $100,000:  0
                        Oii and Gas:   None:    0            Up   to $100,000: 0                 Over   $100,000: D

                        Other:         None:    0            Up   to $100,000: 0                 Over   $100,000: 1ZI.


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           THE INFORMATION CONTAINED IN THIS SUBSCRIPTION AGREEMENT WILL BE
           TREATED CONFIDENTIALLY. However, I agree that you may present this Subscription
           Agreement to such parties as you deem appropriate if the Partnership Is called upon to
           establish that the proposed offer and sale of the Investment is exempt from registration under
           the Act, or meets the requirements of applicable state securities laws.

           IN WITNESS WHEREOF, the undersigned has executed this Subscription Agreement


           Signature: _ _ _          """"~---_,,,..__ _ _ _ _ _ _ __
           Date: ....A
                     ...u.,.g..___    1 ,20_1L

           Amount of Investment: $500,000

           Ownership interest to be vested In the name(s) as follows:
           Name Typed or Printed: ___L_l_L_an
                                            __________________
           Social Security Number:._ _ _ _ _ _ _ _ _ _ __

           Phone Number:             1.;60 8~.i...r0 4-{;,       Email:     apDJti'l~@ Qfl. CDM
           Street Mailing Address:       Ne. 4-//.-:J. 8w/.of;"J BJ, sli;MtJ.Ae Y,'jt~c.~ellj JitlJljbei [);stritt
                                                                                                 I

                              1
           City:   Cbtj 91 flj                                            State or P r o v i n c e : - - - - - - -

           Country:     p, R. cl11'ttA                                                                 .....I.______
                                                                          Zip I Postal Code: ___4""'~.__

           The initial $40,000 check will be deposited Into escrow and should be made payable to:

           "PNC Bank, as Escrow Agent for Palm House Hotel, LLLP."

           Ir your subscription ls not accepted, please indicate your henefidary bank to return your
           investment:
           Wire Insbuctions for payments to Beneficiary Bank:
           BeoeficiaryName: - - - - - - - - - - - - - - -
           Beneficiary Address:_ _ _ _ _ _ _ _ _ _ _ _ __
           Beneficiary Bank Account Number:
           Beneficiary Phone Number:           ----------
                                             ------------
           Beneficiary ID (Passport Number):_ _ _ _ _ _ _ __
           Beneficiary Bank Name:_ _ _ _ _ _ _ _ _ _ _ __
           Beneficiary Bank Address:_ _ _ _ _ _ _ _ _ _ _ __
           Branch SWIFT Code: _ _ _ _ _ _ _ _ _ _ _ __

           *If required* Intermediary Banlc Name: - - - - - - - - - - - -
           *If required* Intermediary Baolc Address:
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           *If required* Intennediary Bank SWIFT Code: - - - - - - - - - -


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